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                                             #:148689



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                   8
                                               UNITED STATES DISTRICT COURT
                   9
                                           CENTRAL DISTRICT OF CALIFORNIA
                  10
                                                    EASTERN DIVISION
                  11
                       CARTER BRYANT, an individual,         CASE NO. CV 04-9049 SGL (RNBx)
                  12
                                  Plaintiff,                 Consolidated with
                  13                                         Case No. CV 04-09059
                            vs.                              Case No. CV 05-02727
                  14
                     MATTEL, INC., a Delaware                DECLARATION OF JON COREY
                  15 corporation,                            IN SUPPORT OF MATTEL, INC.'S
                                                             RESPONSE TO THE MGA
                  16              Defendant.                 PARTIES' REQUEST FOR
                                                             CONDITIONAL BRIEFING
                  17                                         SCHEDULE AND HEARING ON
                       AND CONSOLIDATED ACTIONS              MATTEL'S PENDING MOTION
                  18                                         FOR APPOINTMENT OF A
                                                             RECEIVER
                  19
                                                             Hearing Date:      February 11, 2009
                  20                                         Time:              10:00 a.m.
                                                             Courtroom:         1
                  21
                                                             Phase 1C
                  22                                         Discovery Cut-off:      Not Set
                                                             Pre-trial Conference:   Not Set
                  23                                         Trial Date              Not Set
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                                                                             DECLARATION OF JON COREY
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                                             #:148690



                   1                         DECLARATION OF JON D. COREY
                   2         I, Jon D. Corey, declare as follows:
                   3               1.     I am a member of the bars of the State of California and the
                   4 District of Columbia. I am a partner at Quinn Emanuel Urquhart Oliver &
                   5 Hedges, LLP, attorneys for Mattel, Inc. ("Mattel"). I make this declaration of
                   6 personal, firsthand knowledge, and if called and sworn as a witness, I could and
                   7 would testify competently thereto.
                   8               2.     After the Court lifted the stay on Phase 2 discovery, I wrote a
                   9 letter to Carl Roth of the Skadden Arps firm asking that the MGA Parties
                  10 supplement their document production in response to certain documents requests
                  11 seeking financial information and pursuant to which the Discovery Master had
                  12 compelled the MGA Parties to produce financial documents. A true and correct
                  13 copy of my letter to Mr. Roth is attached as Exhibit A. As of the date of this
                  14 declaration, I have received no response to that letter.
                  15         I declare under penalty of perjury under the laws of the United States of
                  16 America that the foregoing is true and correct.
                  17               Executed on February 5, 2009, at Los Angeles, California.
                  18
                  19                                                 /s/ Jon Corey
                                                                    Jon Corey
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                                                                                     DECLARATION OF JON COREY
